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IN THE UN:TED sTATEs nisTR:CT coURT

son THE wEsTERN DISTRICT oF TENNESSEE QSJUN_S PH h:lh
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MARY MCCAIN, et ai., iNQ,QFYN.MEMsMS

Plaintiffs,
v. Nc>. 04-3037 Ml/P
SHELBY COUNTY, et al.,

Defendants.

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ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.l(f), a Rule l6(b) Scheduling Order
was entered on May 24, 2005, by United States Magistrate Judge Tu
M. Pham. In accordance With the deadlines established in that
order, trial and pretrial dates are set as follows before the

District Court:

l. The jury trial in this matter, which is anticipated to
last five (5) days, is set to begin MondaV, June 5, 2006

at 9:30 a.m. in courtroom no. 4.

 

2. A pretrial conference is set for Tuesdav, MaV 30, 2006 at
9:00 a.m.
3. The joint pretrial order and proposed jury instructions

and voir dire questions are due by no later than 4:30

p.m. on M y 2 , 2006.

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Absent good cause, the dates established by this order shall

not be extended or modified.

IT IS SO ORDERED this lday Of June, 2005.

mw

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

       

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UNITED

Notice of Distribution

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Honorable J on McCalla
US DISTRICT COURT

